                           1                                        EXHIBIT E

                           2                     DETAILED EXPENSES FOR THE PERIOD FROM
                                                    APRIL 1, 2020 THROUGH APRIL 30, 2020
                           3
                                                                       None.
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Morrison & Foerster LLP

San Francisco, CA 94105




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   425 Market Street




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